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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,


       Plaintiff,

v.                                                      Case No. 06-20663

D-1, DERRICK ARMSTRONG,                                 HONORABLE AVERN COHN

     Defendant .
___________________________________/


                                         ORDER

       Defendant, Derrick Armstrong, has filed a motion (Doc. 525) styled Defendant

Armstrong’s Motion To Dismiss Indictment For Violation Of The Speedy Trial Act (18 U.S.C.

§3161).

       For the reasons stated on the record on August 05, 2008, the motion is DENIED.

A tentative computation supporting the conclusion that there has been no violation of The

Speedy Trial Act is attached as Exhibit A.

       SO ORDERED.


Dated: August 5, 2009                      s/ Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


I hereby certify that a copy of the foregoing document was mailed to the attorneys of record
on this date, August 5, 2009, by electronic and/or ordinary mail.


                                           s/ Julie Owens
                                          Case Manager, (313) 234-5160
